Case 2:20-cv-00541-JAM-AC Document 8 Filed 04/13/20 Page 1 of 4

April 7th, 2020

Court Clerk, US District Court

Eastern District of California, Sacramento Division F
Room 4-200 on the 4th Floor | L E D
Robert T. Matsui United States Courthouse, APR 1 3 20720

CLERK Us oisT,
40 EASTERN Dist RCT COURT
501 "I" Street, Sacramento, CA 95814 ey DISTRICT OF CALIFORNIA

ObALTY Sree, —e
Subject: Fraudulent use of my name, in Company NOT registered/owned by me

CASE No: 2:20-CV-00541-JAM-AC

Dear Court Clerk,

Please ref. above case number in subject line, copy of the notice that was delivered to me is also
attached here. | do hereby declare:

| don't have anything to do with the company "360 Digital Marketing LLC (360 Digital) , Reckon Media
LLC (Reckon), GHOSTWRITER (GhostWriter), Video Animation Inc (Video), WIKI Professionals Inc
(WIKI), Trademark Terminal (TRADEMARK)" . Someone is using my name fraudulently, in this
company.

| have NEVER owned or associated with any business of this company.
Since | don't have to do anything with this company, my name should be removed from this case.

| am attaching here copy of my Driver's License also.
Best regards,

Yousuf Salman

Resident of : 22015 Bridgestone Pine CT, Spring TX, 77388
 

USA
Case 2:20-ov-0054 Sg xyesicument 8 Filed 04/13/20 Page 2 of 4

  
 
 

   
   
 
  
 

DRIVER LICENSE |
ad. 23380159 5 ciassC “
4a iss 03/29/2018 4b Exp 04) 44/2024
3 DOB 1965

; 58 22015 BRIOGESTONE PINE CT
° SPRING TX 77388-0000
12 Restrictions NONE g2 End NONE

sshgt 5-11" 1s sex M is Eyes BRO
5 DD 202148001322591 17334

 
CT )-20 AO

Case 2:20-ov-00541-JAM-, ment & Filed 02/12/20 Page 3 of
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

MARK AUSSIEKER ,
V. SUMMONS IN A CIVIL CASE

360 DIGITAL MARKETING LLC, ET AL.,
CASE NO: 2:20-CV-00541-JAM-—AC

‘TO: 360 Digital Marketing LLC, Reckon Media
LLC, Salman Yousuf
Defendant's Address:

YOU ARE HEREBY SUMMONED and required to serve on

Mark Aussieker
8830 Olive Ranch Lane
Fair Oaks, CA 95628

an answer to the complaint which is served on you with this summons, within 21 days after

service of this summons on you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint. Any answer that you serve
on the parties to this action must be filed with the Clerk of this Court within a reasonable period

of time after service.

KEITH HOLLAND
CLERK

 

/s/ K. Zignago

 

 

ISSUED ON 2020-03-11 13:20:52.0 , Clerk
(By) DEPUTY CLERK USDC EDCA
 

RETURN OF SERVICE

 

DATE
Service of the Sammons and complaint was made by me(!)

NAME OF SERVER (PRINT) TITLE

 

 

 

Check one box below to indicate appropriate method of service

 

 

(1 Served personally upon the defendant, Place where served:

 

C Left copies thereof at the defendant's dwelling house or usual place of bode with a person of suitable age and
discretion then residing therein.

 

[) Name of person with whom the summons and complaint were left:

C Returned unexecuted:

 

 

 

C) Other (specify) :

 

 

 

 

STATEMENT OF SERVICE FEES
TRAVEL SERVICES TOTAL

 

 

 

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on

 

Date Signature of Server

 

Address of Server

 

 

 
